           Case 3:19-cv-30056-MGM Document 24-1 Filed 08/22/19 Page 1 of 2




                                      UNITED STATES DISTRICT COURT
                                       DISTRICT OF MASSACHUSETTS                            •;




                              Civil Action No. 3:19-cv-30056-MGM ===SEALED*




                                                                        {, an individual,
                                                             Plaintiff,

                                                                   V.



       UMass-Amherst, a Massachusetts public institution of more than 300 employees,
                                          Dr. Derek Lovley, an individual,
                                          Dr. Toshiyuki Ueki, an individual,
                                           Dr. John Lopes, an individual.
                                                           Defendants.




                                                   Dated August 22, 2019


                  MOTION FOR LEAVE TO PROCEED USING A PSEUDONYM
                                      AND TO REDACT SENSITIVE DATA



The August 19, 2019 order (Dkt. No. 20) informed Plaintiff that she did not meet the burden of
establishing that her August 12, 2019 second motion for impoundment was meritorious and
therefore this latter request was denied. However, Plaintiffs fear of additional immediate
in'eparable serious harm exposed in the memorandum in support of the aforesaid second
impoundment motion remains substantial and compels her to move for replacing all pleadings
already filed in the instant case with versions in which Plaintiffs name was changed with a
pseudonym while sensitive data (date of birth, email address, etc.) were redacted.

Respectfully submitted,
                                Pro Se




Motion for leave to proceed anonvmouslv with redaction ofsensitive data 082219




                                                                 1 of 1
Case 3:19-cv-30056-MGM Document 24-1 Filed 08/22/19 Page 2 of 2
